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Caties2m5anW00079-LGW-RSB Document 2 Filed 06/30/15 Page 1 of 2

*mAO 440 (Rev, 8/01) Suntmons in a Civil Action

 

 

UNITED STATES DISTRICT COURT

Southern District of Georgia

State of Georgia ex. rel. Samuel S. Olens, et

al. SUMMONS IN A CIVIL CASE

Vv.

Regina A. McCarthy, et al.
CASE NUMBER: (¢V215-79

TO: (w ame and address of Defendant)

Administrator Regina McCarthy
U.S. Environmental Protection Agency
Ariel Rios Bldg
1200 Pennsylvania Ave., NW
Washington, D.C. 20460
YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Britt Grant

State of Georgia

Office of the Attorney General
40 Capitol Square, SW
Atlanta, GA 30334

an answer to the complaint which is served on you with this summons, within 60 days after service
of this summons on you, exclusive of the day of service. Ifyou fail to do sa, judgment by default will be taken against you
for the relicf demanded in the complaint. Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

 

 

Scott L. Poff i oat oy 6/30/2015
CLERK i Yo?) =n
s/Candy Asbell aan V

 

(By) DEPUTY CLERK

AS Rev 1/AL/NF
Case 2:15-cv-00079-LGW-BWC Document 39 Filed 07/31/15 Page 2 of 3
Case 2:15-cv-00079-LGW-RSB Document 2 Filed 06/30/15 Page 2 of 2

“SAO 440 (Rev. 8/01) Summons ina Civil Action

 

RETURN OF SERVICE

 

og |, [DATE alelive Sucka eal
Service of the Summons and complaint was made by me? ag Isai kd). Thels gaits P

Ta Ta ERVER (PR hy
Ta mes wD. Qsls Asst: Atlorney Cen, >it Sb £f Georg IQ

Check one box below to indicate appropriate method Jf service
GF G

 

 

 

 

[| Served personally upon the defendant. Place where served:

 

 

C] Left copies thereof at (he defendant's dwelling house or usual place of ubode with a person of suitable age and
discretion then residing therem.

Name of person with whom the summons and complaint were left:

 

| Returned unexecuted:

 

 

 

 

 

 

 

STATEMENT OF SERVICE FEES
FRAVEL SERVICES TOTAL

 

 

 

 

DECLARATION OF SERVER

 

| declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Rejfirn of Service und Statement of Seryiee Feesyts
Sr. Ast Ath, Gen.

    
 

  

Executed or CL Z/ ol / 5

if Dai’ Signi’ of SUE 7 ~
4 Gap i Sper’, Slo At buck, GH Daz

Address of Ferver

 

 

 

 

(1) As to who may serve a summons sce Rule 4 of the Federal Rules of Civil Procedure.

JAS Rev 1/31/02
Case 2:15-cv-00079-LGW-BWC_ Document 39 Filed 07/31/15 Page 3 of 3

 

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= Complete items 1, 2, and 3. Also complete A. Sighatu “! '
item 4 if Restricted Delivery Is desired. yx > ( i / Sop
® Print your name and address on the reverse ) af = E ddressee
so that we can return the card to you. B. Received by ( Printed Name C. Date of Dell
® Attach this card to the back of the mailpiece, i il “ "4 fi Anat 2
" fa

 

 

or on the front if space permits.
D. Is delivery address different from Item 1? [1 Yes

Cee eed eee: lf YES, enter delivery address below: [No

- _ ee

Administrator Regina McCarthy 4
U.S. Environmental Protection Agency ©

 

 

 

 

 

 

 

Ariel Rios Bldg.
1200 Pennsylvania Ave., NW 3. Service Type
Washington, D.C. 20460 Certified Mall () Express Mail
Ragistered © Return Receipt for Merchandise
— Cl insured Mall ~= 1. €..0..D.
4. Restricted Delivery? (Extra Fee) O Yes
2. Article Number

Tenate dom eet Les 7O1l2 3050 OOO1 273b SB4b

 

 

, PS Form 3811, February 2004 Domestle Return Recelpt 402595-02-M-1540
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